UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-2476 MRW Date October 21, 2020

 

Title Garcia v. Sunshine SS 3360

 

Present: The Honorable Michael R. Wilner

 

Veronica Piper None
Deputy Clerk Court Smart / Reporter
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER RE: DISMISSAL

The parties filed a stipulation to dismiss this case with prejudice. (Docket # 37.) This action is
dismissed with prejudice.

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